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                                                             6

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                                                             8                                   UNITED STATES DISTRICT COURT
                                                             9                                   EASTERN DISTRICT OF CALIFORNIA
                                                            10
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11   UNITED STATES OF AMERICA,                         Case No. 2:06-CR-0505 EJG
                                                            12                      Plaintiff,                     STIPULATION AND ORDER
                                                                                                                   TEMPORARILY MODIFYING TERMS
                                         ATTORNEYS AT LAW




                                                            13          v.                                         AND CONDITIONS OF RELEASE FOR
                                                                                                                   TRAVEL IN MARCH 2008
                                                            14   PATRICK STRATMAN and
                                                                 JOSEPH BREWER,
                                                            15
                                                                                    Defendants.
                                                            16

                                                            17

                                                            18          Defendant JOSEPH BREWER is in the business of buying and selling used aircraft parts.

                                                            19   He has been in the business for more than 30 years. In connection with his business he travels to

                                                            20   The Netherlands approximately three to four times per year. Through business connections there,

                                                            21   he identifies desirable used aircraft parts and arranges for their purchase and shipment to the

                                                            22   United States.

                                                            23          Mr. Brewer is not in custody and has no travel restrictions. However, as a condition of

                                                            24   release, Mr. Brewer surrendered his passport. On two separate occasions in 2007, Magistrate

                                                            25   Judge Brennan and Magistrate Drozd ordered that Mr. Brewer be permitted to retrieve his

                                                            26   passport for the purpose of making a business trip to the Netherlands in the spring and fall of

                                                            27   2007, on condition that Mr. Brewer provide his travel itinerary and that Mr. Brewer surrender his

                                                            28   passport upon his return. Mr. Brewer complied with these conditions on both occasions.
                                                                                                                 -1-                                    1311.003-556834.1

                                                                   STIP. & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS & CONDITIONS 2:06-CR-0505EJG
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                                                             1            Mr. Brewer requests that he again be permitted to retrieve his passport for the purpose of
                                                             2   business to travel to The Netherlands between on or about March 12, 2008 through on or about
                                                             3   April 20, 2008, in order to maintain his business obligations. Attached to the Stipulation is
                                                             4   Mr. Brewer’s itinerary and contact information while in the Netherlands. It is requested that
                                                             5   Mr. Brewer be permitted to retrieve his passport from the Court and that he be permitted to travel
                                                             6   to and from the Netherlands and that he re-surrender his passport to the Court on or before
                                                             7   April 25, 2008.
                                                             8            Mr. Brewer has a waiver of appearance on file. Mr. Brewer understands that he would
                                                             9   have to return from the Netherlands before his scheduled date of return if the matter was set for
                                                            10   trial or his appearance was otherwise required before April 20, 2008.
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11            Counsel has discussed this request with Assistant U.S. Attorney Ellen Endrizzi who
                                                            12   voiced no objection to this request.
                                         ATTORNEYS AT LAW




                                                            13            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
                                                            14   counsel, ELLEN ENDRIZZI, Assistant United States Attorney, attorney for plaintiff, and
                                                            15   GEOFFREY A. GOODMAN, attorney for Joseph Brewer, that the conditions of defendant’s
                                                            16   release be temporarily modified as set forth herein and that Mr. Brewer may retrieve his passport
                                                            17   from the Court, that Mr. Brewer may travel to The Netherlands for business from on or about
                                                            18   March 12, 2008 through on or about April 20, 2008, and that Mr. Brewer is ordered to re-
                                                            19   surrender his passport on or before April 25, 2008.
                                                            20   ///
                                                            21   ///
                                                            22   ///
                                                            23   ///
                                                            24   ///
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                                                            26   ///
                                                            27   ///
                                                            28   ///
                                                                                                                 -2-                                    1311.003-556834.1

                                                                   STIP. & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS & CONDITIONS 2:06-CR-0505EJG
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                                                             1   However, should Mr. Brewer’s appearance be required before April 20, 2008 for trial, trial
                                                             2   confirmation or other necessary appearance, counsel shall so inform Mr. Brewer and Mr. Brewer
                                                             3   agrees he will appear as ordered.
                                                             4   Dated: February 13, 2008
                                                                                                                  MURPHY AUSTIN ADAMS SCHOENFELD LLP
                                                             5

                                                             6
                                                                                                                  By:     /s/ Geoffrey A. Goodman
                                                             7                                                            GEOFFREY A. GOODMAN
                                                                                                                          Attorneys for Defendant
                                                             8                                                            JOSEPH BREWER
                                                             9   Dated: February ___, 2008
                                                                                                                  MCGREGOR W. SCOTT
                                                            10                                                    UNITED STATES ATTORNEY
M URPHY A USTIN A DAMS S CHOENFELD LLP




                                                            11

                                                            12                                                    By:     /s/ Ellen Endrizzi
                                                                                                                          ELLEN ENDRIZZI
                                         ATTORNEYS AT LAW




                                                            13                                                            Assistant U.S. Attorney
                                                            14

                                                            15                                                   ORDER
                                                            16           Based on the parties’ stipulation and good cause appearing therefore, the Court hereby
                                                            17   adopts the stipulation of the parties in its entirety as its order.
                                                            18   DATED: February 14, 2008.
                                                            19
                                                                                                           ______________________________________
                                                            20                                             DALE A. DROZD
                                                                                                           UNITED STATES MAGISTRATE JUDGE
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                                                            22   Ddad1/orders.criminal/stratman0505.stipord
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                                                                   STIP. & [PROPOSED] ORDER TEMPORARILY MODIFYING TERMS & CONDITIONS 2:06-CR-0505EJG
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